 8:10-cr-00186-LSC-TDT       Doc # 64   Filed: 09/29/10    Page 1 of 1 - Page ID # 215




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:10CR186
                                           )
              Plaintiff,                   )
                                           )
              vs.                          )                    ORDER
                                           )
CRYSTAL RAE HATFIELD,                      )
                                           )
              Defendant.                   )

       This matter is before the Court on the Defendant's motion for medical assistance

(Filing No. 61).

       After careful consideration,

       IT IS ORDERED that the Defendant's motion for medical assistance (Filing No. 61)

is denied.

       DATED this 29th day of September, 2010.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
